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 3     Telephone: 530.759.0700
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 4
     Attorney for Defendant
 5   ILDEFONSO GARCIA ORDONEZ
 6

 7
                             IN THE UNITED STATES DISTRICT COURT

 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                        SACRAMENTO DIVISION

10

11
     UNITED STATES OF AMERICA,                       )   CASE NO.: 2:08-CR-0090 EJG
                                                     )
12
                                 Plaintiff,          )
                                                     )   STIPULATION AND ORDER
13
            vs.                                      )   CONTINUING STATUS CONFERENCE
                                                     )
      MANUEL MEJIA ORDONEZ, et al,                   )
14
                                                     )   DATE: March 20, 2009
                                 Defendants.         )   TIME: 10:00 a.m.
15
                                                     )   COURT: Hon. Edward J. Garcia
16
                                                     )

17                                             STIPULATION

18          The parties, through their undersigned counsels of record, stipulate that the status
19   conference scheduled for February 6, 2009, may be continued to March 20, 2009, at 10:00 a.m.

20   Presently, there are three defendants before the Court (Manuel Mejia Ordonez, Luciano Porcayo

21   and Ildefonso Garcia Ordonez) and the parties anticipate that all three cases will resolve by way

22   of negotiated plea agreements.
23          To date, the government has provided each defendant, through their counsels of record,
24   voluminous amounts of discovery, which the defendants have not yet fully reviewed. In order to

25   provide the defendants with effective representation in this case, including plea negotiations,

26   undersigned defense counsels need to fully review the discovery with their clients.

27          The parties also agree that time may be excluded from the speedy trial calculation under
28   the Speedy Trial Act for counsel preparation, and that the interests of justice served by granting

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     STIPULATION AND [PROPOSED] ORDER CONTINUING                                           2:08-CR-0090 EJG
     STATUS CONFERENCE
       Case 2:08-cr-00090-WBS Document 83 Filed 02/05/09 Page 2 of 3


 1   the continuance outweigh the best interests of the public and the defendant in a speedy trial,
 2   pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(iv) and Local Code T4.
 3          Counsel for defendant Ildefonso Garcia Ordonez has been authorized to sign this
 4   Stipulation on behalf of all other parties.
 5   Dated: February 3, 2009                Respectfully submitted,
 6
                                            JOSEPH J. WISEMAN, P.C.
 7                                          By:  /s/ Joseph J. Wiseman

 8                                                 JOSEPH J. WISEMAN
                                                   Attorney for Defendant
 9                                                 Ildefonso Garcia Ordonez
10

11   Dated: February 3, 2009                By:/s/ Joseph J. Wiseman for
                                                     J. Toney
12                                                   Attorney for Defendant
13
                                                     Manuel Mejia Ordonez

14
     Dated: February 3, 2009                By:/s/ Joseph J. Wiseman for
15                                                   Lindsay A. Weston
16                                                   Attorney for Defendant
                                                     Luciano Porcayo
17

18
     Dated: February 3, 2009                LAWRENCE G. BROWN
19                                          United States Attorney
20
                                            By: /s/ Joseph J. Wiseman for
21                                                  Samantha S. Spangler
22
                                                    Assistant U.S. Attorney

23
                                                   ORDER
24
            GOOD CAUSE APPEARING, the status conference scheduled for February 6, 2009 at
25
     10:00 a.m. is continued to March 20, 2009 at 10:00 a.m.
26          The Court finds that the interests of justice served by granting the continuance outweigh
27   the best interests of the public and the defendant in a speedy trial. Therefore, time is excluded
28   from the speedy trial calculation pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(iv) and Local

                                                      2
     STIPULATION AND [PROPOSED] ORDER CONTINUING                                          2:08-CR-0090 EJG
     STATUS CONFERENCE
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 1   Code T4 for counsel preparation.
 2          IT IS SO ORDERED.
 3

 4

 5   Dated: February 4, 2009                           /s/ Edward J. Garcia
                                                       EDWARD J. GARCIA
 6                                                     UNITED STATES DISTRICT JUDGE
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     STIPULATION AND [PROPOSED] ORDER CONTINUING                         2:08-CR-0090 EJG
     STATUS CONFERENCE
